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 1                        UNITED STATES DISTRICT COURT

 2         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 3 WAYMO LLC,                             CASE NO. 3:17-cv-00939
             Plaintiff,
 4      vs.                               DECLARATION OF GARY BROWN
   UBER TECHNOLOGIES, INC.;
 5 OTTOMOTTO LLC; OTTO TRUCKING           REDACTED VERSION OF DOCUMENT
   LLC,                                   SOUGHT TO BE SEALED
 6           Defendants.

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                                                                  Case No.3:17-cv-00939
                                                            DECLARATION OF GARY BROWN
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 1          I, Gary Brown, hereby declare as follows.

 2          1.      I have been employed by Google Inc. (“Google”) since August 2013. I currently

 3 hold the position of Security Engineer, Forensics. I make this declaration in support of Waymo’s

 4 Motion for a Preliminary Injunction and have personal knowledge of the facts stated herein.

 5          2.      I received an M.S. in Enterprise Computing and a B.S. in Cybersecurity from the

 6 Stevens Institute of Technology.

 7          3.      In my role as a Security Engineer in Forensics, I am responsible for gathering

 8 evidence, from logs and hosts, to confirm or refute suspected compromise or abuse. I am familiar

 9 with Google’s secure networks and with logs of activity on those networks that are maintained by

10 Google in the ordinary course of its business.

11          4.      It is Google’s policy to assign unique identifiers to devices issued to employees for

12 work purposes, such as work laptops. Among other functions, these unique identifiers help

13 maintain the security of Google’s secure networks. When an employee’s device interacts with a

14 Google service or is active on a Google network, those interactions and activities can be recorded

15 in logs that identify the device (by its unique identifiers) and/or the interaction or activity (for

16 example, downloading files from a secure repository).

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15         Anthony Levandowski
16         12.     Google issued a work laptop to Anthony Levandowski in July 2013 that was

17 assigned the asset inventory tag           (“the Levandowski work laptop”).

18         13.    Based on my review of         host metadata, an installed Windows operating system

19 on the Levandowski work laptop made no check-ins to         between March 2, 2015 and

20 November 25, 2015, despite the         agent being configured to do so every 15 minutes when an

21 internet connection is present. Based on my review of Google corporate network logs, the

22 Levandowski work laptop’s network interfaces appeared on the Google network a total of three

23 times between March 2, 2015 and November 25, 2015: for a period of approximately two hours on

24 October 22, 2015, approximately two hours on November 20, 2015, and then briefly on November

25 25, 2015.

26         14.    Based on my review of         host and        metadata, the Windows operating

27 system on the Levandowski work laptop was re-installed on November 26, 2015.

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 1         15.     Based on my review of             log data, the Levandowski work laptop ran a

 2 MoMA search for the strings “chauffeur svn login” and “chauffeur svn eee setup” on December 3,

 3 2015. “Chauffeur” was the name of Google’s self-driving car project, and “SVN” refers to a

 4 repository used by that project which contains Waymo's design files, schematics and other

 5 confidential information.

 6         16.     Based on my review of logs of Google corporate network traffic and      log data,
 7 the Levandowski work laptop downloaded and installed TortoiseSVN, which is software that can

 8 access the self-driving car project’s SVN repository, on December 11, 2015.

 9         17.     Based on my review of logs from the SVN repository and of Google corporate
10 network traffic, the Levandowski work laptop then downloaded over 14,000 files from the SVN

11 repository, also on December 11, 2015. Based on my review of logs from the SVN repository,

12 that download totaled 9.7 GBs of data, including 2 GBs from LiDAR subdirectories.

13         18.     Based on my review of       log data, a Transcend RDF5 USB 3.0 card reader was
14 attached to the Levandowski work laptop for a period of approximately eight hours on December

15 14, 2015.

16         19.     Based on my review of host metadata in       and a timeline of the hard drive of
17 the Levandowski work laptop, the Levandowski work laptop was reformatted from a Windows

18 operating system to a Linux operating system (Goobuntu, Google’s custom version of Ubuntu

19 Linux) on December 18, 2015.

20         20.     Based on my review of Google machine certificate logs, Google network logs,
21 Google host logs, and       host metadata, the Levandowski work laptop maintained a consistent
22 connection on Google’s network from the time of reformat on December 18th through its last

23 check-in to      , and obtention of a machine certificate, on December 21, 2015. The final
24 appearance of the Levandowski work laptop on Google’s corporate network occurs approximately

25 one minute after it obtained the machine certificate on December 21, 2015. From that point on,

26 there is no further appearance of the Levandowski work laptop on Google’s corporate network,

27 nor any check-ins to        despite the     agent being configured to do so every 15 minutes
28 when an internet connection is present.
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 1           21.         When a Google employee uses his or her corporate account credentials to log onto

 2 Google Drive, those interactions can also be recorded even if the Google employee is accessing

 3 Google Drive from a personal device. For example, if a Google employee “exports” (i.e., saves a

 4 local copy of) a document from Google Drive, that interaction will be recorded in a Drive log,

 5 identifying (among other things) the Google employee’s GAIA ID (a unique identification number

 6 assigned by Google, resolvable to a username and domain on Google’s services), the unique ID of

 7 the document exported, the operating system and browser in use, and the time and date of the

 8 export.

 9           22.         Based on my review of Drive log data, the Google GAIA ID                     which

10 resolves to “               @google.com” – assigned to Anthony Levandowski – exported five

11 documents from Google Drive to a personal device (i.e., one that was not issued by Google) on

12 January 4, 2016, over an approximately three minute period. The names of those files are:

13       ●          Intensity Calibration
14       ●         Extrinsic Calibration
15       ●         and      tuning Instructions
16
         ●          Assembly Flowchart SOP
17
         ●          TESTING STATION
18

19           23.         Based on my review of Drive log data, on January 11, 2016, the Google GAIA ID
20                       – assigned to Anthony Levandowski – exported another document from Google
21 Drive to a personal device. The name of this file is:

22       ● Chauffeur TL weekly updates - Q4 2015
23
             Sameer Kshirsagar
24
             24.         Based on my review of Drive log data, the Google GAIA ID                 –
25
     assigned to Sameer Kshirsagar – exported a document from Google Drive on June 3, 2016. The
26
     name of this file is:
27
         ● Laser questions
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 1          25.     Based on my review of Drive log data, the Google GAIA ID                    –

 2 assigned to Sameer Kshirsagar – exported another document from Google Drive on June 14, 2016.

 3 The name of this file is:

 4      ●         Ramp Checklist
 5          26.     Based on my review of Drive log data, the Google GAIA ID                    –
 6 assigned to Sameer Kshirsagar – exported another document from Google Drive on June 21, 2016.

 7 The name of this file is:

 8      ●                        and Packaging
 9
            27.     Based on my review of Drive log data, the Google GAIA ID                    –
10
     assigned to Sameer Kshirsagar – exported another document from Google Drive on June 22, 2016.
11
     The name of this file is:
12
        ●               -Lens Placement-01
13

14          28.     Based on my review of Drive log data, the Google GAIA ID                    –
15 assigned to Sameer Kshirsagar – exported another document from Google Drive on July 12, 2016.

16 The name of this file is:

17      ● All things       Part 3-       mode         -
18
            Radu Raduta
19
            29.     Based on my review of Drive log data, the Google GAIA ID                        –
20
     assigned to Radu Raduta – exported, over an approximately ten minute period, three documents
21
     from Google Drive on July 28, 2016. The names of those files are:
22
        ● Die - wire bonding houses
23
        ● External Vendors and Consultants List
24

25      ● automation vendors
26          I declare under penalty of perjury that the foregoing is true and correct. Executed in San
27 Jose, California, on March 9, 2017.

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